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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



DROPCASES, LTD.,
                         Plaintiff,
                 v.

THE PARTNERSHIPS AND                                         Case No. 24-cv-02589-JLR
UNINCORPORATED ASSOCIATIONS                                  JURY TRIAL DEMANDED
IDENTIFIED ON SCHEDULE “A”

                         Defendants.

     NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO RULE 41(a)(1)(A)(i)

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Dropcases Ltd. (“Plaintiff”), by and

through its undersigned counsel, hereby voluntarily dismisses this action WITHOUT PREJUDICE

as to the following Defendants:

 Nos.    Amazon Seller ID             Defendant Name                            Amazon Seller Alias
 19      A2X5S3TAKUTQAK               Argo North Venture Partners, LLC          Lucky Chargers
 21      A36JITAU1BVS0F               Leaderment International Group Co., Ltd   Syncwire
 53      A2IHZFOHOQ0WG8               Godirectinc.com Inc                       GearIT
 66      A3NWIHZHQOP4JP               PowerPump                                 Powerpump
 78      AWGKVY8N96OWL                Shop Rush Store Inc.                      IGRL Store
 86      A34EB7QX5QA9AX               Active Production LLC                     Powerbear
 122     AZEMFYXR7MB0V                Manni inc                                 Yutaco

        Prior to the filing of this notice, Defendants have yet to file an answer or motion for

summary judgment.

Dated: June 11, 2024                           Respectfully submitted,

                                               /s/ David A. Boag
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                                               447 Broadway, Suite 2-270
                                               New York, NY 10013
                                               dab@boagip.com

                                               Attorneys for Plaintiff Dropcases, Ltd.


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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above document was

electronically filed on June 11, 2024 with the Clerk of the Court using the CM/ECF system, which

will automatically send an email notification of the filing to all registered attorneys of record.

                                               /s/ David A. Boag
                                               David A. Boag




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